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                          Meeting Minutes: Executive Steering Committee
                                           May 03, 2024, 8:30 a.m.
                               Airport Center - Boeing Conference Room



Attendees:
   •   Erik Walsh, City Manager
   •   Jeff Coyle, Assistant City Manager
   •   Troy Elliott, Deputy Chief Financial Officer
   •   Andy Segovia, City Attorney
   •   Tino Gallegos, Assistant City Attorney
   •   Tacorian Tilley, Management Fellow
   •   Jesus Saenz, Director of Airports, Aviation
   •   Tim O'Krongley, Deputy Director-TOP, Aviation
   •   Tom Bartlett, Deputy Director- Administration, Aviation
   •   Debbie Drew, Chief Integration Officer, Aviation
   •   Michael Garnier, Chief Finance and Administration Officer, Aviation
   •   Sam Rodriguez, Chief Development Officer-CIP, Aviation
   •   Jim Tiefenthaler, Chief Development Officer-TOP, Aviation
   •   Eric Smith, Consultant, Kaplan, Kirsch & Rockwell (virtual)
   •   Dan Molloy, Managing Director SVP, Anser Advisory (virtual)
   •   Dave Brandenburg, Managing Director, SVP, Anser Advisory
   •   Mike Glaser, Deputy EPM, Anser Advisory
   •   Jennifer Sanchez, Project Specialist, Anser Advisory
   •   Juan Sierra, Principal/Vice President, Freese and Nichols (virtual)


Standing Items:
   1. Terminal Development Program (TOP) Status
             a.   Budget Journey Progress- Dave Brandenburg
                     i.   Slide #5- Dave Brandenburg explained the objective of the current budget
                          journey process is to validate the initial pricing model and find strategic
                          opportunities.
                     ii. Slide #6- Dave Brandenburg discussed the steps completed thus far included
                          various workshops and a review of design options proposed by the CMAR. The
                          team had a briefing last week of four options. The team currently reviewing
                          design construction efficiencies and is on schedule.
                    iii. Andy Segovia asked when the information would be shared with the airlines.




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      iv. Michael Garnier answered May 29.
      v. Discussion occurred between the group regarding a timeline strategy to ensure
          the airlines can be provided the information on May 29. The group agreed to
          meet on May 17th to review the options and discuss the information that will be
          required to provide the airlines. It was noted the airlines are requesting the
          budget number and the projects it includes.
      vi. Slide #7- Dave Brandenburg noted the budget opportunities identified in the
          work sessions were categorized into three sections: 1) Right Sizing, 2)
          Alternatives/Design Options, and 3) Scope Reduction.
     vii. Slide #8- Dave Brandenburg noted a budget scorecard has been developed. The
          scorecard is a comparison of the original PDM, CMAR estimate, and the various
          options and how they affect the budget, design and constructability.
     viii. Slide #9- Dave Brandenburg noted the next steps are to make a priorities list and
          complete a pre-liminary selection then complete a final scorecard with options.
          Step three will be to finalize target values, which will be part of the workshop.
      ix. Jesus Saenz noted the workshop on May 17th will start to framework the
          projects and will be included as an attachment in the AULA agreement, along
          with the budget.
b. Airline Gating Recommendation- Dave Brandenburg
       i. Slide #11- Dave Brandenburg noted approximately thirty-one various gating
          plans were reviewed. The recommendation strategy included a legal opinion,
          cost avoidance in the gating plan, or money we would not have to spend, and
          work with the Master Architect to load balance the facility.
      ii. Slide #12- Eric Smith


                                                              Scoring sheets were
          completed and included point values. Othe factors reviewed were finance and
          the Master Architect recommendation. Additionally, commitments to clubs
          were reviewed.




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     iii. Erik Walsh asked who completed the scoring sheets.
     iv. Michael Garnier answered Eric Smith.
      v. Slide #13- Dave Brandenburg stated an analysis of various gating plans was
         completed and savings would occur if two airlines were relocated versus other
         options that require relocating four airlines. Those savings were $2M savings in
         relocation costs for holdrooms and offices and $7M savings in relocation costs
         for United Club.
     vi. Jesus Saenz noted the group needs to understand the long-term impact when
         decisions are made for the terminal complex.
     vii. Slide #14- Dave Brandenburg noted the goal of the Master Architect
         recommendation was to review customer experience, balancing load, baggage
         handling system, and check-in. It was noted there was no perfect solution in any
         gating assignment. It was noted there is always a review of what is needed for
         2040.
    viii. Jesus Saenz noted the airport is three years ahead in passenger activity level
         (PAL).
     ix. Slide #15- Dave Brandenburg noted the facility requirements were based upon
         meeting with the Airline Technical Representative (ATR) and speaking with the
         airlines. American Airlines requested six gates, Delta Air Lines requested five
         gates, Southwest Airlines requested ten gates, United Airlines requested five
         gates, and Spirit Airlines requested one gate. Additionally, airline clubs were
         requested from American, Delta, and United. It was noted check-in positions will
         evolve as we go into design and meet with each airline to get their vision for Pal
         2 and Pal4.
      x. Slide #16- Dave Brandenburg explained a Ground Transportation Center (GTC) is
         required to remove Transportation Network Carriers (Lyft, Uber, etc.) off the
         curbside. Additionally, there is a need to expand the curbside.
     xi. Slide #17- Dave Brandenburg presented the Master Architect gating assignment
         recommendation. From airside the pro is there are no split operations for




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            signatory carriers. The con is non-signatory domestic OALs may have split
            operations. The pros for terminal processing is there are large club spaces in
            terminal B expansion. Delta will also be able to provide direct access for some
            gates from the potential lounge. The con is non-signatory domestic OAL require
            additional check-in counters constructed in Terminal B. The curbside pros are
            Terminal B expansion arrivals curbside operates are Level of Service B (LoS) for
            PAL 2. Terminal A arrivals curbside operates at LoS B for PAL 2, and existing
            Terminal B arrivals curbside operates at LoS C for PAL 2. The cons include
            Terminal B expansion arrivals curbside operates at LoS D for PAL 4. Terminal A
            arrivals curbside operates at LoS D for PAL 4, and existing Terminal B arrivals
            curbside operates at LoS E for PAL 4. It was noted the dynamic of the airport and
            arrivals/departures will change in the next 25-30 years.
     xii. Tim O'Krongley added the GTC will pull traffic off the curbside.
    xiii.   Erik Walsh asked when work will be completed in Terminal A.
    xiv.    Dave Brandenburg answered it will be post DBO and there is approximately $SM
            in the existing budget.
     xv. Jesus Saenz noted there will need to be a review of what check-in counters
            would like look for Terminal A.
    xvi.    Erik Walsh asked if the city gates are for non-signatory use.
    xvii.   Dave Brandenburg answered yes.
   xviii. There was a discussion between the group explaining international departures
            can occur from the new ground load facility (GLF) but will arrive in the new
            terminal. Additionally, it was noted there is a possibility there may be a cost
            increase to fly out of the new terminal versus the GLF. The GLF will also serve as
            a temporary relocation when Terminal A renovations are completed
    xix. Slide #18- Dave Brandenburg noted the gating scorecard included factors such as
            the number of gates requested, clubs, and international flights.




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             xx.    Slide #19- Dave Brandenburg noted the next steps are to confirm the
                    recommendation with ESC and then have individual meetings with airlines to
                    share the outcome of the gating assignment.
            xxi. Jesus Saenz noted the first meeting with airlines will be with Southwest,
                    followed by American.
            xxii.   Dave Brandenburg noted the challenge with United is they want a bigger club,
                    and the space may not be available. Concession space may need to be moved to
                    keep square footage.
           xxiii. Troy Elliott noted he will review the concessions RFP for language.
      c.   AULA Update- Michael Garnier
               i. Slide #21- Michael Garnier noted on April 30 the airlines proposed a revised
                    financial deal from the previous proposal submitted April 12. It was noted the
                    airport will continue with the path of rates by ordinance if an agreement is not
                    made.
               ii. Jesus Saenz added the airlines have asked for a short-term extension. It was
                    noted if the deal is beneficial, we should consider the extension.
              iii. The committee provided approval to move forward with the recommended
                    gating assignment.
              iv.   Erik Walsh asked when budgeting would occur for the pot-DBO work in Terminal
                    A.- work in TA post-DBO.
              v.    Michael Garnier answered $200M has already been included in the Capital
                    Improvement Plan and will be included in the AULA agreement as a pre-
                    approved project. It was noted the $200M is included in the rate modeling.
              vi.   It was noted Terminal A renovations cannot be completed while building the
                    new terminal. Additionally, it was discussed a discounted CPE for Terminal A
                    until renovations are complete is under review



2. Decisions Needed




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           a. No Items This Week
   3.   Impact to the Critical Path
           a. No Items This Week
   4.   Non-Terminal Development Program Items
           a. No Items This Week

Discussion:
   •    No Items This Week

Next Meeting for Executive Steering Committee
Next Meeting: May 17, 2024



TBD\Upcoming Topics:
        a. NEPA Update
        b. Building Elevation
        c. Governance KPis
        d. Delegation of Authority
        e. Air Service Strategy




                  The committee provided approval to move forward
                  with the Airline Gating Assignment as presented




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